                       Case 1:23-cr-00124-ACR Document 1 Filed 01/17/23 Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint



                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District of &ROXPELD

                   United States of America                           )
                              v.                                      )
JOSHUA ABATE, (DOB: XXXXXXXXX)                                        )       Case No.
MICAH COOMER, (DOB: XXXXXXXX)                                         )
DODGE DALE HELLONEN, (DOB: XXXXXXXX)                                  )
                                                                      )
                                                                      )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
  On or about the date(s) of                    January 6, 2021              in the county of                                           in the
                          LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                       Offense Description

             18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
             18 U.S.C. § 1752(a)(2) -Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
             40 U.S.C. § 5104(e)(2)(D)-Disorderly Conduct in a Capitol Building;
             40 U.S.C. § 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.




          This criminal complaint is based on these facts:
   6HHDWWDFKHGVWDWHPHQWRIIDFWV




          9
          u Continued on the attached sheet.


                                                                                                  Complainant’s signature

                                                                                         Kelsey Randall, Special Agent
                                                                                                   Printed name and title
 $WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
 E\WHOHSKRQH                                                                                                 Zia M. Faruqui
                                                                                                               2023.01.17 16:38:32
 Date:             01/17/2023                                                                                  -05'00'
                                                                                                     Judge’s signature

 City and state:                         :DVKLQJWRQ'&                          ZIA M. FARUQUI, U.S. Magistrate Judge
                                                                                                   Printed name and title
